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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
        v.                            )           2:18cr95-MHT
                                      )
MARTINEZA DEWAN McCALL                )

                                   ORDER

       Defense counsel has orally inquired as to whether

he    or     probation    is   responsible      for    paying    for       the

"thorough        mental-health        evaluation,"        the    detailed

requirements for which are set forth in the court's

order of August 6, 2020 (doc. no. 102). It is ORDERED

and     CLARIFIED      that     probation      is   to    pay    for       the

evaluation.

       DONE, this the 19th day of August, 2020.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
